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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND


                                                )
 UNITED STATES OF AMERICA,                      )
                                                )
 v.                                             )       Criminal Case No. 22-cr-00007-LKG
                                                )
 MARILYN J. MOSBY,                              )       Dated: September 11, 2023
                                                )
           Defendant.                           )
                                                )

      PRELIMINARY ORDER ON CARES ACT-RELATED JURY INSTRUCTIONS
          On September 8, 2023, the parties participated in a pre-trial hearing to address, among
other things, the jury instructions related to the Cares Act for the trial in this criminal matter. For
the reasons stated during the pre-trial hearing, the Court sets forth below proposed jury
instructions related to the CARES Act.

          The parties shall MEET AND CONFER and FILE any proposed modifications to these
CARES Act-related jury instructions on or before September 25, 2023.

                                  CARES Act (Proof Of Perjury)

For Mrs. Mosby to be guilty of perjury, the government must prove beyond a reasonable doubt
that she did not suffer “adverse financial consequences” stemming from the coronavirus or
COVID-19, as a result of either:

      •   being quarantined, being furloughed or laid off or having work hours reduced due to such
          virus or disease,
      •   being unable to work due to lack of childcare due to such virus or disease, or
      •   closing or reducing hours of a business owned or operated by the individual due to such
          virus or disease,
according to how she understood this term at the time she submitted her withdrawal requests.
                  CARES Act (Definition Of Adverse Financial Consequences)

“Adverse financial consequences” means an unfavorable or negative outcome related to money,”
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                     CARES Act (Withdrawal Amount And Number)

You have heard evidence regarding both the amount of funds Mrs. Mosby withdrew from her
457(b) plan, and how she used those funds.

The CARES Act limits the amount of aggregate distributions from as coronavirus-related
distribution to no more than $100,000. If a 457(b) Plan enrollee qualifies for a coronavirus-
related distribution under the CARES Act, she could make more than one withdrawal so long as
the total amount withdrawn did not exceed $100,000.

There is no requirement under the CARES Act for an individual who has experienced adverse
financial consequences stemming from the coronavirus and COVID-19 to limit the amount of the
funds withdrawn to the amount of funds needed arising from the coronavirus or COVID-19


       IT IS SO ORDERED.



                                               s/ Lydia Kay Griggsby
                                               LYDIA KAY GRIGGSBY
                                               United States District Judge




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